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 8                               UNITED STATES DISTRICT COURT
 9                            NORTHERN DISTRICT OF CALIFORNIA
10                                        OAKLAND DIVISION
11                                                     Case No. 13-md-02420-YGR (DMR)
     IN RE: LITHIUM ION BATTERIES                      MDL No. 2420
12   ANTITRUST LITIGATION
                                                       [PROPOSED] ORDER RE: PHASE II
13                                                     MOTION TO DISMISS BRIEFING AND
                                                       PLAINTIFFS’ SECOND AMENDED
14   This Document Relates to:                         COMPLAINTS
15   ALL ACTIONS                                       Judge: Hon. Yvonne Gonzalez Rogers
16

17          Upon consideration of the parties’ Joint Status Conference Statement (ECF No. 371) and
18   the positions of the parties at the February 7, 2014 status conference and in their previously-filed
19   letter briefs regarding issues to be determined under Fed. R. Civ. P. 12(b)(6) (see ECF Nos. 258
20   (Defs.’ Ltr.), 268 (DPP Ltr.), 269 (IPP Ltr.)), the Court HEREBY ORDERS the following
21   (1) briefing for Phase II of the Defendants’ motion to dismiss the Indirect Purchaser Plaintiff
22   proposed class action, (2) schedule for Direct Purchaser Plaintiffs (“DPPs”) and Indirect
23   Purchaser Plaintiffs (“IPPs”) to file their respective Second Consolidated Amended Complaints
24   (“SCACs”), and (3) briefing of motions to dismiss the DPP-SCAC and IPP-SCAC:
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     [13-MD-02420 (YGR)] [PROPOSED] ORDER RE: PHASE II MOTION TO DISMISS BRIEFING AND
     PLAINTIFFS’ SECOND AMENDED COMPLAINTS
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            1.       DEFENDANTS’ (PHASE II) MOTION TO DISMISS THE IPP
 1                   CONSOLIDATED AMENDED COMPLAINT
 2          Issues That May Be Presented. Defendants may file a motion to dismiss against the

 3   allegations set forth in the IPPs’ Consolidated Amended Complaint (which has already been

 4   dismissed with leave to amend pursuant to the Court’s January 21, 2014 Order re Motions to

 5   Dismiss (“MTD Order”) (ECF No. 361)) on the following issues:

 6                  Whether the IPPs have standing to bring claims under the laws of the states that

 7                   apply the Associated General Contractors doctrine or analogous antitrust standing

 8                   principles. See ECF No. 258 (Defs.’ Ltr.) § I.B.2 & n.2.

 9                  Whether the Illinois Brick doctrine bars IPPs’ claims for the states that apply

10                   Illinois Brick in whole or in part. See id. § I.B.3.

11                  Whether the IPPs have constitutional standing for claims under Montana and Utah

12                   law, and for any subclasses of governmental plaintiffs outside of California, to the

13                   extent IPPs continue to assert such claims. See id. § I.B.5.

14                  Whether certain IPP state law claims were deficiently pled and require dismissal.

15                   See id. § I.B.6.

16          Schedule and page limits. The following schedule and page limits shall apply to the

17   Phase II motion to dismiss briefing:

18                  Defendants’ joint opening brief shall be due on March 7, 2014 and shall not

19                   exceed thirty (30) pages.

20                  IPPs’ opposition brief shall be due on April 7, 2014 and shall not exceed thirty

21                   (30) pages.

22                  Defendants’ joint reply brief shall be due on April 28, 2014, and shall not exceed

23                   twenty (20) pages.

24                  Hearing is set for May 9, 2014 at 9:30 a.m.

25
            Defendants’ Motion to Strike Certain IPP Class Allegations. Pursuant to the Court’s
26
     February 19, 2014 Order, the Court shall not entertain Defendants’ proposed motion to strike the
27
     IPPs’ nationwide class allegations at this time.
28
     [13-MD-02420 (YGR)] [PROPOSED] ORDER RE: PHASE II MOTION TO DISMISS BRIEFING AND
     PLAINTIFFS’ SECOND AMENDED COMPLAINTS                                                              2
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 1          2.      SCHEDULE AND PROTOCOL FOR PLAINTIFFS’ SECOND AMENDED
                    COMPLAINT FILINGS
 2
            Both the DPPs and IPPs will file their respective SCACs no later than March 26, 2014.
 3
     Within one day after filing, both the DPPs and IPPs will provide the Court, and serve
 4
     Defendants, with a “track changes” or redline version of the SCACs which tracks the
 5
     amendments made to the DPP and IPP (first) Consolidated Amended Complaints.
 6
            3.      SCHEDULE AND PAGE LIMITS FOR MOTIONS TO DISMISS SECOND
 7                  CONSOLIDATED AMENDED COMPLAINTS
 8          If Defendants do not answer the SCACs in the first instance, Defendants may jointly file

 9   motions to dismiss the respective SCACs, and separate defendant groups of related companies

10   may file individual motions to dismiss on issues unique to those defendants, e.g., challenging the

11   sufficiency of the specific allegations against those individual defendants, which do not duplicate

12   the arguments in the joint motions. The following schedule and page limits shall apply to motion

13   to dismiss briefing:

14                 Defendants’ joint motions to dismiss the two SCACs, and any respective

15                  individual motions to dismiss, shall be due on April 25, 2014. The page limits set

16                  forth in N.D. Cal. Civil L.R. 7 shall apply to the briefing of Defendants’ joint

17                  motions to dismiss the DPP-SCAC and IPP-SCAC. The defendants’ respective

18                  individual opening briefs, if any, shall not exceed seven (7) pages. Any

19                  Defendant which does not move to dismiss will answer the SCAC on or before

20                  April 25, 2014.

21                 DPPs’ and IPP’s respective opposition briefs shall be due May 27, 2014. The

22                  page limits set forth in N.D. Cal. Civil L.R. 7 shall apply to DPPs’ and IPPs’

23                  oppositions to the joint motions to dismiss the DPP-SCAC and IPP-SCAC.

24                  DPPs’ oppositions to any defendants’ respective individual motions shall not

25                  exceed seven (7) pages.

26                 Defendants’ joint and individual reply briefs shall be due June 17, 2014. The

27                  page limits set forth in N.D. Cal. Civil L.R. 7 shall apply to the reply briefs for the

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     [13-MD-02420 (YGR)] [PROPOSED] ORDER RE: PHASE II MOTION TO DISMISS BRIEFING AND
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 1                     joint motions to dismiss the DPP-SCAC and IPP-SCAC. The defendants’

 2                     respective individual reply briefs shall not exceed four (4) pages.

 3                    Whether and when the motions shall be heard will be subject to a subsequent

 4                     order of the Court.

 5

 6   IT IS SO ORDERED.

 7

 8   Dated:       February 27          , 2014
                                                     YVONNE GONZALEZ ROGERS
 9                                                   UNITED STATES DISTRICT JUDGE
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     [13-MD-02420 (YGR)] [PROPOSED] ORDER RE: PHASE II MOTION TO DISMISS BRIEFING AND
     PLAINTIFFS’ SECOND AMENDED COMPLAINTS                                                           4
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     DATED: February 24, 2014                     DATED: February 24, 2014
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     [13-MD-02420 (YGR)] [PROPOSED] ORDER RE: PHASE II MOTION TO DISMISS BRIEFING AND
     PLAINTIFFS’ SECOND AMENDED COMPLAINTS                                                   5
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     [13-MD-02420 (YGR)] [PROPOSED] ORDER RE: PHASE II MOTION TO DISMISS BRIEFING AND
     PLAINTIFFS’ SECOND AMENDED COMPLAINTS                                                 6
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     [13-MD-02420 (YGR)] [PROPOSED] ORDER RE: PHASE II MOTION TO DISMISS BRIEFING AND
     PLAINTIFFS’ SECOND AMENDED COMPLAINTS                                                     7
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 8                                      E-FILING ATTESTATION

 9          I, Todd A. Seaver, am the ECF User whose ID and password are being used to file this

10   document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that each of the

11   signatories identified above has concurred in this filing.

12
                                                   /s/ Todd A. Seaver
13                                                 Todd A. Seaver
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     [13-MD-02420 (YGR)] [PROPOSED] ORDER RE: PHASE II MOTION TO DISMISS BRIEFING AND
     PLAINTIFFS’ SECOND AMENDED COMPLAINTS                                                         8
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 1                                  CERTIFICATE OF SERVICE

 2          I hereby certify that on February 24, 2014, I electronically filed the foregoing document

 3   using the CM/ECF system which will send notification of such filing to the e-mail addresses

 4   registered in the CM/ECF system, as denoted on the Electronic Mail Notice List.

 5                                               /s/ Todd A. Seaver
 6                                               Todd A. Seaver

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